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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

   BOSTON SCIENTIFIC CORPORATION         )
   and BOSTON SCIENTIFIC SCIMED, INC.,   )
                                         )
                       Plaintiffs,       )
                                         )         C.A. No. 18-1869-CFC-CJB
             v.                          )
                                         )
   MICRO-TECH ENDOSCOPY USA INC.,        )
   MICRO-TECH (NANJING) CO., LTD., and   )
   HENRY SCHEIN INC.,                    )
                                         )
                       Defendants.       )

          DEFENDANTS’ OPENING LETTER BRIEF IN SUPPORT OF THEIR
       MOTION TO STRIKE PLAINTIFFS’ FINAL INFRINGEMENT CONTENTIONS


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   86-21-6109-7108

   Dated: August 19, 2020




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  The Honorable Christopher J. Burke                                   VIA ELECTRONIC FILING
  United States District Court for the District of Delaware
  844 N. King Street
  Wilmington, DE 19801

           Re:     Boston Scientific Corp, et al. v. Micro-Tech Endoscopy USA Inc., et al.,
                   C.A. No. 18-1869-CFC-CJB

  Dear Judge Burke:

  Pursuant to Section 10 of the Scheduling Order, Defendants Micro-Tech Endoscopy USA Inc.,
  Micro-Tech (Nanjing) Co., Ltd., and Henry Schein Inc. (collectively, “Defendants”) request that
  the Court strike the Final Infringement Contentions (“FICs”, attached hereto at Tab 1) served by
  Plaintiffs Boston Scientific Corporation and Boston Scientific Scimed, Inc. (collectively,
  “Plaintiffs”) on July 31, 2020. Plaintiffs’ FICs should be struck for the following five reasons:

      1. FICs Asserting Indirect Infringement of the ’371 and ’725 Patents – Never Pled

  Plaintiffs did not plead indirect infringement of either the ’371 or ’725 patents. See DI 141. Nor
  did they seek leave to add such allegations when they amended their complaint two months ago
  to include new allegations of direct infringement of the ’245 patent. DI 123. Plaintiffs’s FICs,
  however, assert for the first time contributory and induced infringement of the ’371 and the ’725
  patents (FIC, Ex. A at 2-3; Ex. B, at 3). Those FICs should be struck as outside of the scope of
  the pleadings, which have framed fact discovery in this action. In a meet and confer today,
  Plaintiffs’ counsel agreed to consider withdrawing all indirect infringement FICs on the ’371 or
  ’725 patents. We will promptly advise the Court if Defendants indeed take that step.

      2. FICs Asserting Claim 9 of the ’371 Patent – Leave to Amend Answer Denied

  The Court denied Plaintiffs’ Motion for Leave to Amend to assert claim 9 of the ’371 patent
  because it was not adequately pled. DI 136. Plaintiffs’ FICs repeat allegations that Your Honor
  already deemed insufficient to satisfy Rule 8’s notice pleading requirements. FIC, Ex. B at 11.
  Having failed to provide a sufficient basis to assert claim 9 in its proffered Amended Complaint,
  Plaintiffs’ attempt to assert claim 9 in equally unsupported FICs should be rejected.

      3. FICs That Rely On Rejected Claim Constructions of the ‘245 and ‘725 Patents

  FICs that rely on claim constructions previously rejected by the Court should be struck. E.g.,
  Intel. Ventures I LLC v. AT&T Mob. LLC, C.A. No. 13-1668-LPS, 2017 WL 658469, at *2 (D.
  Del. Feb. 14, 2017). Yet Plaintiffs’ FICs repeat and expressly rely on claim constructions that
  Judge Connolly rejected for the terms “breakable link…adapted to be broken” and “connecting
  member,” as explained below. Accordingly, Plaintiffs’ FICs on the ‘245 and ‘725 patents should
  be struck based on an application of the Pennypack factors that the Court has relied on in striking
  similarly deficient FICs. Id. (citing Meyers v. Pennypack Woods Home Own. Ass'n, 559 F.2d
  894, 904–05 (3d Cir.1977)).




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           a. “breakable link….adapted to be broken” (’245 Patent)

  The Court adopted Defendants’ proposed construction of “a component of the device designed to
  mechanically fail by fracturing at a predetermined tensile load,” and it specifically rejected
  Plaintiffs’ position that the limitation could comprise a mere “connection” of two components
  that could be “broken” upon deformation of one of the components. D.I. 140. Plaintiffs rely on
  the very position rejected by the Court in their FICs on the ‘245 patent:
          … the Hooks are designed such that, when the control wire retracts and subjects the
          Hooks to a sufficient tensile force, [1] the connection between the Hooks and the
          proximal pin is broken, thereby uncoupling the control wire from the clip. The Hooks
          are designed to mechanically fail by fracturing ([2] e.g., by plastic deformation that
          causes the Hooks to fracture—see, e.g., BSC-MT139793, -849, and -857) so as to
          release from the proximal pin upon application of that tensile force.
  FIC, Ex. A, at 2-3. The first emphasized passage [1] is the claim construction position Plaintiffs
  proposed and the Court rejected. See Tab 2 (Markman Hearing Transcript) at 31:24-35:5. The
  second [2] merely suggests that this claim element may be met “e.g.,” when a component
  undergoes deformation, a point that Judge Connolly also expressly rejected. See Tab 2
  (Markman Hearing Transcript) at 32:13-15 (“I find, however, that the specification does not
  establish that the breakable link can break through deformation.”). Plaintiffs’ continued reliance
  on rejected claim construction positions supports an order that “strikes, as the Court must, legally
  deficient … contentions.” Intellectual Ventures, 2017 WL 658469, at *3.

           b. “connecting member” (’725 Patent)

  The Court adopted Defendants’ construction of “connecting member” as “a tension member that
  connects the clips arms to the yoke and biases the clip arms to an open configuration.” DI 140.
  In so doing, the Court rejected Plaintiffs argument that the claim did not require “a particular
  mechanism” as the “connecting member,” rather, the “connecting member” could be any
  component that simply connects the clip to the yoke and is somehow involved in the opening and
  closing of the clip. DI 140. Yet, Plaintiffs’ FICs repeat this rejected argument:
          “The proximal pin is a tension member that connects the clip arms to the yoke and
          biases the clip arms to an open configuration. Distal movement of the control wire
          causes the proximal pin to move distally, and the distal movement of the proximal pin
          causes the clip arms to open as the clip arms are pushed out of the capsule and the
          slots formed in the proximal section of the clip arms ride against the distal pin. Thus,
          the proximal pin biases the clip arms in the open position.”

  FIC, Ex. C, at 5-6. Plaintiffs’ FICs identify no alleged “tension” nor any alleged “bias” to an
  open configuration. The proximal pin is simply connected to the control wire and moves with it.
  Plaintiffs’ FICs on the ’725 patent therefore should be struck because they contradict the Court’s
  claim construction. Intellectual Ventures, 2017 WL 658469, at *3.




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      4. FICs that Lack Any Factual Basis (’245 Patent)
  There are three configurations of accused products that Plaintiffs have accused of infringement;
  1) the original j-hook, 2) the buckle hook, and 3) the “Lockado.” Plaintiffs’ FICs for the ’245
  patent on the buckle hook and Lockado configurations, however, merely repeat Plaintiffs’
  rejected claim construction position and then allege that some unidentified component fractures.
  Plaintiffs cite no evidence of which, if any, component actually fractures, much less that any
  component is “designed to” do so, as the Court’s construction requires:




  FIC, Ex. A, at 3. “Infringement contentions ... serve the purpose of providing notice to the
  Defendants of infringement theories beyond the mere language of the patent claim.” Intellectual
  Ventures, 2017 WL 658469, at *2. Plaintiffs’ FIC leave Defendants entirely in the dark as to
  how Plaintiffs contend that any component of the buckle or Locakdo configurations is designed
  to fracture. And Plaintiffs’ designated Rule 30(b)(6) corporate witness was not aware of any
  testing ever done on these products and knew of no evidence that any component fractures into
  pieces. Such unsupported FICs should be struck.

      5. FICs on Doctrine of Equivalents (DOE) with No Supporting Factual Allegations

  Plaintiffs’ Contentions allege infringement by DOE in a cursory manner for numerous claims.
  For many terms, Plaintiffs merely state that “Plaintiffs reserve the right to assert, in the
  alternative, that even if it is determined that Defendants are correct, the Accused Devices satisfy
  this limitation under the doctrine of equivalents.” FIC, Ex. A, at 7; Ex. C, at 5. For almost every
  claim element, Plaintiffs allege DOE that recites a similar “result” of deploying a clip in a patient
  and a “function” and “way” that just repeat the claim language. Id., Ex. B, at 6. These
  contentions fail to adequately allege DOE and are “highly prejudicial to Defendants, who lack
  notice of how their accused products purportedly infringe under the DOE.” Intellectual
  Ventures, 2017 WL 658469, at *4.
                                            *       *      *
  Plaintiffs have completed their Rule 30(b)(6) deposition of Defendants, reviewed Defendants’
  technical documents, received samples of all accused products, and had plenty of time to
  consider the consequences of Judge Connolly’s claim construction ruling. Plaintiffs should not
  be allowed to proceed to expert discovery asserting infringement with no articulated basis.
  Defendants respectfully request that the Court strike Plaintiff’s Final Infringement Contentions
  in their entirety other than the direct infringement contentions as to ’371 Patent claim 8.


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                                                    Respectfully,

                                                    /s/ John G. Day

                                                    John G. Day (#2403)

  cc:   All Counsel of Record (via electronic mail; with attachments)
  Attachments




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